      Case: 1:18-cv-02387 Document #: 199 Filed: 09/23/20 Page 1 of 5 PageID #:2308




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                               Case No. 1:18-cv-02387

                         Plaintiff,                  Honorable Judge Dow

 v.                                                  Honorable
                                                     Magistrate Judge Jantz
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                 JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                         Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                         Nominal Defendant

                    PLAINTIFF’S MOTION TO RE-OPEN DISCOVERY

         Sunil Bhatia (herein “Plaintiff”), by his attorneys, Regas, Frezados & Dallas LLP, for his

Motion to Reopen Discovery, states as follows:

         1.     Over a year and a half ago, on January 24, 2019, Plaintiff issued written discovery

to all Defendants. However, Plaintiff has not yet received responses to this discovery. On

February 14, 2019, the magistrate judge then presiding over the case, by request of Defendants,

and over Plaintiff’s objection, stayed discovery until then-pending motions to dismiss were

resolved. As a result of Defendant’s subsequent actions, various procedural delays, and the current

COVID-19 pandemic, discovery has essentially been stayed since that time. Most recently, on

March 10, 2020, Plaintiff served subpoenas on two third-parties that he had previously identified



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    Case: 1:18-cv-02387 Document #: 199 Filed: 09/23/20 Page 2 of 5 PageID #:2309




in his Initial Disclosures, namely New Jupiter Media and Google. On April 3, 2020, on its own

motion, this Court stayed all discovery in light of the current pandemic. (Doc. #: 139). The Court

ordered Plaintiff to notify the subpoena respondents that no response to the subpoenas was required

until further notice. (Doc. #: 139). The Court’s April 3, 2020 stay is still in place.1

        2.       On February 28, 2020, Defendants Karan Vaswani (herein “Karan”) and Assivo,

Inc. (herein “Assivo”) filed a motion styled as a motion to compel. (Doc. #: 121). While styled

as a motion to compel, the motion argues that Plaintiff has failed to identify his trade secrets with

reasonable particularity, and the motion requests, inter alia, that the Court stay Raju’s and Assivo’s

obligation to respond to Plaintiff’s discovery until Plaintiff does so. (Doc. #: 121). This motion

is scheduled to be heard on September 28, 2020. Doc. #: 181.

        3.       While the motion to compel cites case law that indicates that, generally, a trade

secret defendant should not be required to disclose its trade secrets until the plaintiff has identified

his with reasonable specificity, the caselaw does not support a complete stay on the Defendants

discovery obligations, nor does it provide any basis to stay the discovery obligations of Defendant

Raju Vaswani (herein “Raju”), who is not a competitor to MedValue, but rather an officer, director

and shareholder of MedValue. See AutoMed Techs., Inc. v. Eller, 160 F. Supp. 2d 915, 926 (N.D.

Ill. 2011)(stating “There is no privilege excepting trade secrets from discovery, but ‘courts must

exercise discretion to avoid unnecessary disclosure of such information . . . Consequently,

‘plaintiff will normally be required first to identify with reasonable particularity the matter which

it claims constitutes a trade secret, before it will be allowed (given proper showing of need) to

compel discovery of its adversary’s trade secrets.’”); but see Superior Graphite Co. v. Campos,



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 A lengthier history of discovery in this action can also be found on page 3 of Plaintiff’s Memorandum In Support of
His Motion to Allow Time to Complete Discovery and for Other Relief Pursuant to Federal Rule of Civil Procedure
56(d), which is currently pending. (Doc. # 192).

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   Case: 1:18-cv-02387 Document #: 199 Filed: 09/23/20 Page 3 of 5 PageID #:2310




No. 19-cv-5830, 2020 U.S. Dist. LEXIS 158583 * 11-12 (N.D. Ill. September 1, 2020)(stating,

inter alia, “[Defendant] relies exclusively on a 20-year-old [AutoMed Techs., Inc. v. Eller] case

involving a Plaintiff’s trade secret discovery requests to a non-party . . . In the ensuing twenty

years, it has only become clearer that dispositive motions are the venue for challenging the

particularity of a claimed party’s trade secret . . . A discovery squabble is no place to litigate the

ultimate issue in a case. And trying to avoid discovery altogether could not be more unfair and is

hopelessly inconsistent with the discovery principles underlying [Fed. R. Civ. P. 26] or more

contrary to the fundamental principle that the quest for truth is the object of all discovery and of

trials.”)

        4.     Since this Court entered the stay on discovery, Raju has filed a motion for partial

summary judgment challenging Plaintiff to put forward evidence in support of his claim. (Doc. #:

163). In response, Plaintiff has filed a motion under Fed. R. Civ. P. 56(d) explaining that he cannot

sufficiently oppose the motion without further discovery. (Doc. #: 191). Further, on July 1, 2020,

Judge Dow entered an order reinstating four state-law breach of fiduciary duty claims brought by

Plaintiff. (Doc. #: 152).

        5.     The Court has broad discretion with regards to discovery disputes, and the scope of

discovery. Thermal Design, Inc. v. Am. Soc'y of Heating, Refrigerating & Air-Conditioning

Eng’rs, Inc., 755 F.3d 832, 839 (7th Cir. 2014). In determining whether a stay is appropriate,

Courts often consider whether the stay will: (i) unduly prejudice or tactically disadvantage the

party not seeking the stay, (ii) simplify the issues and streamline trial, and (iii) reduce the burden

of litigation on the parties and court. Abbott Labs. v. Matrix Labs., Inc., No. 09-cv-1586, 2009

U.S. Dist. LEXIS 103055, at *6 (N.D. Ill. Nov. 5, 2009). If there is “even a fair possibility” that

a stay would cause damage to another, the party advocating for the stay must clearly establish that



                                                  3
   Case: 1:18-cv-02387 Document #: 199 Filed: 09/23/20 Page 4 of 5 PageID #:2311




he would face hardship or inequality if forced to proceed. Landis v. N. Am. Co., 299 U.S. 248,

255, 57 S. Ct. 163, 166 (1936).

       6.      All three of the factors set forth in Thermal Design, Inc., supra, demonstrate that it

is not appropriate to maintain the stay. First, the stay is unduly prejudicial and tactically

disadvantageous to Plaintiff. As a direct result of the stay, Plaintiff is unable to adequately respond

to Defendants’ motions for partial summary judgment and to compel. These motions complain of

a lack of the very evidence and factual information which Plaintiff is currently prohibited from

pursuing in discovery. Defendants are attempting to force Plaintiff, who has already withstood

motions to dismiss on his trade secrets claims, to prove his case without the benefit of discovery,

significantly prejudicing Plaintiff and putting him at a clear tactical disadvantage.

       7.      Further, rather than simplifying the issues, the stay has instead created further

complications, in the form of the motions, and the arguments raised therein, regarding the alleged

lack of evidence and factual specificity which the stay itself has caused. This in turn has increased

the burden of litigation on the Court and the parties who, but for the stay, could far more efficiently

address and resolve questions as to the sufficiency of the evidence substantiating the Complaint.

       8.      Additionally, there is more than a “fair possibility” that the stay would cause

damage—indeed, Plaintiff is already facing undue prejudice, as described above, and will continue

to do so, so long as the stay remains. Pursuant to Landis, supra, Defendants must therefore clearly

establish that they would face hardship or inequality if the stay is lifted, and discovery is allowed

to resume. This is a burden Defendants will simply not be able to meet. Defendants cannot

reasonably establish that they will face hardship or inequality under the instant circumstances,

because Defendants themselves have filed a pending motions to compel certain discovery from

Plaintiff and a motion for partial summary judgment which requires Plaintiff to prove his claims.



                                                  4
   Case: 1:18-cv-02387 Document #: 199 Filed: 09/23/20 Page 5 of 5 PageID #:2312




Resolution of these motions requires discovery to proceed. Accordingly, this Court should lift the

stay, and permit the parties to resume discovery.

       WHEREFORE, Plaintiff requests that this Court lift the stay on discovery, except to the

extent that this Court determines that Plaintiff must further specify his trade secrets before Karan

and Assivo must disclose their trade secrets, and grant such further or other relief as the Court

deems just and equitable.

                                                               Regas, Frezados & Dallas LLP

                                                               By:_/s/ Steven M. Dallas         __
                                                                  Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

         The undersigned that on September 23, 2020, I caused to be filed with the Clerk of the
United States District Court for the Northern District of Illinois Plaintiff’s Motion to Re-Open
Discovery using the Court’s ECF system, which automatically results in the transmission, by e-
mail to all parties in this action who have registered use the ECF in the Northern District of Illinois,
of a notice of electronic filing that constitutes service, pursuant to the general order issued by this
Court and the Federal Rules of Civil Procedure.

[X]     Under penalty of perjury, I certify
        that the statements set forth
        forth herein are true and correct.     _/s/ Steven M. Dallas_______________________
                                               Signature




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